EXHIBIT A
(CONTINUED)
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EXHIBIT 2
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SUICIDE PREVENTION AND RESPONSE
FOCUSED IMPROVEMENT TEAM (SPR FIT)

Actions Taken Between 2007-2010

Policy Memoranda

Direct | 06/06/07 | Implemented Mental Health Screening Prior to Placement in Administrative
Segregation Units (ASU):

All inmates are placed into ASU and screened for suicide risk; results of
screening are used to determine the need for a mental health evaluation.

Direct | 06/06/07 | Implemented Screening of Inmates Who Have Been Out to Court and
Received “Bad News”:

Inmates are asked during an initial health screening if they have received
bad news; positive responses trigger referrals to mental health for further
evaluation.

Direct | 10/09/07 | Revised the 2006 Program Guide — Change of Language Regarding Suicide
. Precaution Behavioral 15-Minute Checks:

Changed language for Suicide Precaution behavioral checks clarifying that

15-minute staggered intervals are mandatory and not subject to clinical

discretion.

Direct | 09/08/09 | Updated Procedures for Transfer of Inmate-Patients After Discharge from
Mental Health Crisis Beds and the Department of Mental Health Treatment:
Clarified transfer procedures for inmates who are discharged from a
MHCB and DMH; included guidance regarding availability of inmate
records, level of care considerations, and Keyhea status.

Direct | 12/31/08 | New Suicide Prevention Follow-up Requirement (5-day follow-up):
Added to 5-day follow-up procedures: implemented for inmates referred to
a MHCB, even when the referral was rescinded.

Direct | 10/13/09 | Inmate Mental Health Information Form Requested Update to Institutional
Websites:

The form was piloted at North Kern State Prison and then introduced at
Reception Centers statewide.

Form developed in order to give inmates ’ families an opportunity to provide
mental health information regarding their incarcerated family member.

Direct | 03/22/10 | Implemented Revised CDCR Form 7447 Suicide Risk Evaluation:
Introduction of the revised Suicide Risk Evaluation form.

Indirect | 03/06/07 | Tracking and Transfer of Inmate-Patients Requiring Mental Health Crisis
Bed Care:

Reiterated policy: inmate-patients who require MHCB placement are
referred and transferred as soon as possible and within 24 hours when bed
space is available.
Indirect | 04/18/07 ) The Parameters of Confidentiality of Inmate-patient Communications and
Guidelines for Disclosure:

Memorandum providing overview, definitions, and detailed guidelines for

confidentiality requirements pertaining to inmate-patient communications.

Direct = Direct Impact on Suicide Reduction
Indirect = Indirect Impact on Suicide Reduction: improvement in quality of mental health treatment
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SUICIDE PREVENTION AND RESPONSE
FOCUSED IMPROVEMENT TEAM (SPR FIT)

Actions Taken Between 2007-2010

Indirect | 05/01/08 | Administrative Segregation Unit (ASU) Enhanced Outpatient Program
Status Report: as a component of the plan, $5,000-worth of standardized
training materials were distributed to all institutions:

Report outlining treatment improvement plan for ASU EOP inmates;
included details pertaining to length of stay, weekly monitoring, treatment
space, group therapy, and treatment refusals.

Indirect | 10/03/08 | Criteria for Prioritizing Mental Health Crisis Bed Admissions:
Memorandum defining the circumstances under which a Chief of Mental
Health at an institution should contact the Health Care Placement
Oversight Program (HC-POP) to request priority status for inmate
placement in a MHCB.

Indirect | 01/12/09 | Hepatitis C Evaluation Chrono:

Based on concerns regarding depression associated with medication for
Hepatitis C: policy requiring mental health input into treatment of inmates
with Hepatitis C.

SPR FIT Actions

Direct | 06/02/08- | Monthly review of suicide attempts (3 per month) established to identify
09/2009 | and resolve systemic issues underlying suicide attempts:

SPR FIT members agreed to review 3 suicide attempts per month through
information provided in 837 Incident Reports; goals include identifying
potential problems related to response to attempts.

Direct | 10/24/08 | Designed and Distributed Inmate Suicide Education Posters:
Posters designed to inform inmates about suicide and urging them to seek
help.

Direct | 01/27/09 | Completed ASU Intake Cell Retrofit Project:

SPR FIT monitored the implementation of the Court order requiring
improvements in safety features in cells used during the first 21 days of an
inmate’s placement in ASU. Process started in fall of 2006 and was
completed in January 2009.

Direct | 05/12/09 | Established Access to the Parole Outpatient Clinic Database by Mental
Health Clinicians:

Intranet link to clinical information from parole clinics that MHSDS
clinicians can access; training provided.

Direct | 06/2010 | Designed new pocket cards for custody staff : Risky Times/Risky Places:
Cards listing risk factors and warning signs for suicide risk.

Indirect | 10/11/07 | Mental Health Program Website:
Developed suicide prevention website; suicide prevention power-point
presentations made available to all institutions.

Indirect | 06/26/09 | Mental Health Peer Review Subcommittee “formation note” (subcommittee
of PPEC) — committee finalized on 08/19/08:
Purpose of committee: to provide triage for cases involving mental health

Direct = Direct Impact on Suicide Reduction
Indirect = Indirect Impact on Suicide Reduction: improvement in quality of mental health treatment
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SUICIDE PREVENTION AND RESPONSE
FOCUSED IMPROVEMENT TEAM (SPR FIT)

Actions Taken Between 2007-2010

clinicians who have been referred to PPEC. Committee members determine

if cases require PPEC review.

Indirect 02/10 Implemented SPR FIT quarterly meetings with CDCR statewide SPR FIT

coordinators:

Quarterly teleconference providing an opportunity for SPR FIT

coordinators to communicate and for Headquarters and institutions to

communicate on a variety of topics pertaining to suicide prevention efforts.
Training

Direct | 07/10/07 | Developed Training on Administrative Segregation Unit (ASU) Pre-

placement Mental Health Screening Procedure:

Training provided to staff regarding the screening of inmates who are new

arrivals to ASU.

Direct | 07/18/07 | Updated and revised 6-hour Suicide Risk Assessment Training for

Clinicians:

Training video-taped and provided live State-wide; institutions provided

copies of the training, access to the training via CDCR website in process.

Direct | 10/10/08 | Revised New Employee Orientation for Mental Health Staff Members:

Standardized training for new employees regarding mental health treatment

of inmates including Suicide Prevention.and Response.

Direct | 12/09/08 | Distributed Suicide Prevention Posters to institutions:

Posters provide education for inmates regarding suicide and stress the

availability of help for those individuals considering suicide.

Direct | 05/12/10 | Presented videoconference training on revised Suicide Risk Evaluation

06/09/10 | Form:

Training provided to institutions regarding changes to suicide evaluation

using the new form.

Indirect | 08/12/09 | Presented training at SPR FIT videoconference by clinical staff at

California State Prison, Sacramento:

Training focused on treating difficult inmate-patients and the

overutilization of crisis beds; available by request at the institution.

Indirect | 12/2009 | MHTS.net roll-out expected by fall of 2010:

Mental Health Tracking System roll-out anticipated completion date

Indirect | 02/26/09 | Training Plan for the 2009 Version of the Mental Health Services Delivery

System Program Guide:

Training for trainers provided at all institutions, trainers to provide

Program Guide training on an ongoing basis for new clinicians in

institutions.

Indirect | 01/07/10 Custody/Mental Health Collaboration Training:

A continuation of training initially held in November 2009 with revisions

suggested by Coleman monitors.

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Direct = Direct Impact on Suicide Reduction
Indirect = Indirect Impact on Suicide Reduction: improvement in quality of mental health treatment

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SUICIDE PREVENTION AND RESPONSE
FOCUSED IMPROVEMENT TEAM (SPR FIT)

Actions Taken Between 2007-2010

Indirect | 05/11/10 | Presented Class to al! Wardens on Suicide Prevention:
An Overview of Suicide and Suicide Prevention in CDCR, presented to all
Wardens.

Indirect | 06/2010 | Motivational Interviewing Training scheduled for Video Conference in fall
2010

Indirect | 06/15/10 | Mental Health and Custody Collaboration Training at RJD

Suicide Review Revisions

Direct | 05/12/10 | Reviewer Training Updates:
Establishment of quarterly meetings focused on improving quality of suicide
reports,

Direct | 05/17/10 | Developed audit tool to assist institutions in following policies/procedures
and to facilitate completing reports in a timely manner:

Tool outlining mental health policies; currently in draft form and being
reviewed by SPR FIT.

Direct | 03/01/10 | Revised and improved Suicide Report Tracking system:
Submission of suicide report, improved by 42%
Scheduling of suicide case review, improved by 42%
Time to final edit, improved by 63%

Time to submission to institution, improved by 63%

Direct | 2009/10 | Autopsy report uploads current as of 07/2010

Indirect | 02/2010 | Improved quality, consistency, and submission of institutional Quality
Improvement Plans:

Systematic review of problems with QIP submission highlighted several
areas requiring improvement; assignment of QIP Coordinator to monitor
compliance.

Indirect | 02/09/10 | Added clinical discussion to Suicide Case Review, focused on
psychodynamics of decedent:

Discussions held to encourage clinical exploration of complex individual
risk factors in completed suicides.

Indirect | 04/29/1G | Established dedicated suicide reviewers by obtaining approval for, and
recruitment of, two Retired Annuitants for immediate availability for
Suicide Case Reviews; hiring in process.

DMH and CDCR Collaboration

Direct | 03/2010 | Created Risk Management work group to coordinate with the Quality
Management Overview Suicide Work Group that facilitates collaboration
between CDCR and DMH in mutual efforts to effect overall system
improvement for mental health services including the management of
suicide risk.

The collaboration proposal includes the development of task groups to
address policy and treatment issues with the goal of improving suicide

Direct = Direct Impact on Suicide Reduction
Indirect = Indirect Impact on Suicide Reduction: improvement in quality of mental health treatment
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SUICIDE PREVENTION AND RESPONSE
FOCUSED IMPROVEMENT TEAM (SPR FIT)

Actions Taken Between 2007-2010

prevention strategies.

DMH currently participates in the CDCR SPR FIT monthly
videoconference.

Foundational tasks accomplished:

o Analysis of VPP research data of 300 CDCR patients with
suicidality issues — to be presented at APA conference in
August 2010

o Research-based feedback for SRE provided to CDCR HQ

Miscellaneous

Indirect | 11/11/07 | Included Suicide Prevention and Response Team vision and mission
statement in annual custody In-Service Training.

Indirect | 08/28/08 | Introduced Guidelines for Clinical Documentation by Psychiatrists:
Memo sent to all institutions introducing detailed guidelines for
documentation by psychiatrists.

Indirect | 03/2009 | Held Mental Health Leadership Conference:

Conference for Mental Health Chiefs and selected others, covering
Program Guide updates, suicide prevention policies, and other selected
topics.

Direct = Direct Impact on Suicide Reduction
Indirect = Indirect Impact on Suicide Reduction: improvement in quality of mental health treatment
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State of California Department of Corrections and Rehabilitation
SUICIDE RISK EVALUATION
CDCR 7447 (REV. 03/10) Page 1

SUICIDE RISK EVALUATION

Date of Assessment: ij Time: Institution: Reason for assessment:

AGE: ETHNICITY: CURRENT LEVEL OF CARE: [NONE £1 CCCMS Cleop [| MBHCB

—

Sources of Information (Mark all that apply): (1 C/O or Staff Interview(s) Ci VP Interview L) UHR (O c-File (J Other

PART 1: DATA COLLECTION

CHRONIC RISK FACTORS ACUTE RISK FACTORS
Present? (Historic and Demographic) Present? (Within 3 months)
¥ N_ Family history of suicide(s) ¥ N Suicidal ideation (including passive ideation)
¥ NWN History of emotional, physical, or sexual abuse ¥Y N__ Recent serious suicide attempt
Y  N__ History of major depressive disorder Y N Current/recent depressive episode
Y N__ History of psychotic disorder y iN Current/recent psychotic symptoms
¥Y  N_ Chronic pain problem ¥ N Current/recent anxiety or panic symptoms
YN Chronic medical illness ¥ N Current/recent substance abuse/intoxication
Y  N__ History of substance abuse YN Hopelessness/helplessness
Y  N__ History of violence (including index crime) Y N Increasing interpersonal isolation
¥  N_. History of poor impuise control Y N Agitated or angry
YON. Perception of loss of socialsupport ooo..........---- yY nN Current/recent violent behavior
Y  N_. First prison term Y N Recent serious medical diagnosis
Y  N_ Long or life sentence Y N Disturbance of mood/ability
YN. Sexoffender .........-..e.---eeceeeere Y N__ Recent trauma (including sexual trauma)
YN Caucasian/White ethnicity |¥___N__.. Recent bad news, loss or anniversary date.
YN Older than 35 years of age. Y N Early in prison term
| _Y. ON Male ooo eee tgs YN Recent change in housing (¢.2. Ad Seg)
Y N History of suicide attempts. Note details (number, Y N Safety concerns (¢.g., fang dropout)
lethality, method, age, ete.): Y N Single cell placement
¥ N Recent negative staff interactions
Y¥ WN __ Evidence of medication hoarding/cheeking
Y N Recent disciplinary (“115”)
PROTECTIVE FACTORS
Present? Present?
¥ N Family Support (e.g. visiting, correspondence) Y N Children at home
¥ N _ Religious/spiritual/cultural beliefs Y N Spousal support
¥ N Interpersonal social support Y N Insight into problems
Y¥ N Future orientation/plans for future ¥  N__ Soborschool assignment
Y¥ N Exercises regularly ¥ N Active and motivated in psych treatment
¥ N Positive coping skills & conflict resolution skills Y N Sense of optimism; self-efficacy
Does the inmate report a plan to kill Y N _ Does the inmate report a desire YN
him/herself? to die?

Data Collection Only — Nursing Signature:

Special Communication Assistance Needs (SCAN): 0 Not Indicated C Indicated
If indicated, SCAN due to: 0 Armstrong/LD O Non-English language 0 Organicity 0 Clark O Other:

Communication Techniques used: 0 Spoke slowly © Read materials C1 Rephrased sentences & questions 01
Simple English 0 Verified patient understood what was said 0 Other:
Results: Effective communication U achieved ( not achieved UO additional comments:

Mental Health Last Name: First Name: MI:
Suicide Risk Evaluation

| CDCR 7447 (REV. 03/10)

| Confidential Patient Information CDC Number: DOB: f

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STATE OF CALIFORNIA DEPARTMENT OF CORRECTIONS AND REHABILITATION
SUICIDE RISK EVALUATION ,
CDCR 7447 (REV. 03/10)

[ Instructions for Suicide Risk Evaluation Form, Page 1

General Instructions:

The Suicide Risk Evaluation (SRE) form must be used whenever an inmate is deemed to present an elevated risk of suicide.
Suicide risk may be demonstrated by verbalizations of suicidal thoughts, suicidal gestures, suicide attempts, a significant history
of past suicidal ideas or behaviors, and/or other indicators. A suicide risk assessment must be completed:

« Every time an inmate has an initial face-to-face evaluation for suicidal ideation, gestures, threats, or attempts, by a
clinician trained to complete a suicide risk assessment.

e By the referring clinician prior to placement of an inmate-patient into an Outpatient Housing Unit (OHU) for continued
suicide risk assessment or into a Mental Health Crisis Bed (MHCB) for suicidal ideation, threats, or attempt.

* After hours, on weekends and holidays, on-call clinicians shall conduct a face-to-face assessment of suicide risk prior to
releasing an inmate to any housing without suicide watch or precaution.

* After hours, on weekends and holidays, when the referring clinician has not completed an SRA, by the clinician
providing coverage, by the next day, for those inmate-patients placed into an OHU or MHCB.

e By the associated Interdisciplinary Treatment Team (IDTT) and/or clinician for all inmate-patients placed into an OHU,
for mental health reasons, or MHCB, for any reason, upon decision to release or discharge.

* Subsequent to release from an OHU placement that was for the purpose of continued suicide risk assessment, or a
MHGB placement for the reason of suicidal ideation, threats, or attempts, at a minimum of every ninety (90) days for a
twelve month period, by a mental health clinician.

e Within seventy-two (72) hours of return from a Department of Mental Health (DMH} facility, or within 24 hours if clinically
indicated based on new arrival screening.

* Any time the medical and mental health screening of a new arrival to an institution indicates a current or significant
history, over the past year, of suicide risk factors, ideation, threats, or attempts.

» Pursuant to Department Operating Manual, Article 41, Prison Rape Elimination Act Policy, for victims of sexual assault,
within four hours after the required sexual assault forensic examination.

The suicide risk evaluation must be completed by a trained clinician any time there is a concern about elevated suicide risk.
(When an inmate expresses chronic suicidal ideation without intent or plan, the clinician may document that no change in suicide
risk has occurred since completion of the prior suicide risk assessment, instead of completing a full suicide risk assessment.)
The listing of acute and chronic risk and protective factors is not an actuarial process.

When completed, both parts (pages 1 & 2) must be filed in the Unit Health Record and data entered into the Mental Health
Tracking System.

A thorough and adequate suicide risk assessment includes: 1) Identification of both Chronic and Acute Risk Factors; 2)
Identification of recent precipitating stressors; 3) Identification of Protective Factors; 4) inquiry regarding intent, planning,
ideation, behavior, 5) Documentation of Risk Level and its justification; and 6) a Treatment Plan that includes methods to reduce
acute risk and enhance protective factors.

Specific Instructions:

Part 1: Data Collection

Complete each section of Part 1 — include background information and evidence of Effective Communication.
A thorough evaluation of suicide risk requires information about the presence or absence of all risk factors in
Part 1. (f information is not available - please indicate this on the form.

At least two sources of information must be used for completing the evaluation, and using all four sources

indicated is preferable.

Chronic risk factors are unlikely to change on subsequent SRE forms, unless new information is received. If

changes are noted these should be indicated.

5. Acute risk factors may change and subsequent SRE forms will reflect these changes.

§. Protective Factors are balanced against Risk Factors.

7. Nursing staff members who collect risk information for on-call clinicians not present in the institution should
check the box indicating data collection only and sign in the space provided. Nursing staff should not make
judgments of risk level.

8. Do not rely only on inmate self-report.

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STATE OF CALIFORNIA DEPARTMENT OF CORRECTIONS AND REHABILITATION
SUICIDE RISK EVALUATION
CDCR 7447 (REV, 03/10) Page 2

PART 2: ADDITIONAL INFO, EST. IMATE OF RISK & TREA TMENT PLAN

ADDITIONAL DETAILS (INCLUDIN' G MENTAL STATUS EXAM):

ESTIMATE OF RISK

CHRONIC RISK [] Low [_] Moderate C] High

ACUTE RISK [] Low (_] Moderate [_] High
JUSTIFICATION OF RISK LEVEL:
TREATMENT PLAN:
Clinician Name/Title (PRINT): Date: l
Clinician Signature:

Mental Health | Last Name: First Name: MI:

Suicide Risk Evaluation
CDCR 7447 (REV. 03/10)

| Confidential Patient Information CDC Number: DOB: i !

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STATE OF CALIFORNIA DEPARTMENT OF CORRECTIONS AND REHABILITATION

SUICIDE RISK EVALUATION
CDCR 7447 (REV. 03/10)

Instructions for Suicide Risk Evaluation Form, Page 2 |

Specific Instructions

Part 2: Additional Information, Risk Level, Justification, and Treatment Plan

1.
2.

3.

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7.
8

9.

10.
11.
12.
13.

Supply additional information about the inmate including a mental status exam.

The evaluation of risk (Low, Medium, High} is based on the factors indicated, but is a matter of clinical
judgment.

The Justification of Risk should follow directly from the data collected (or conversely: the data collected
should lead directly to the justification of risk).

While it is true that risk elevates as risk factors accumulate, the simple summation of the number of checked
boxes is not to be interpreted as an accurate reflection of the degree of suicide risk. Additionally, risk factors
can act synergistically (“the whole is greater than the sum of its parts") and the quality of the interaction
between risk factors is not easily captured by a number.

Inmate-patients with plans for suicide are at higher risk than those without plans for suicide (although those
without plans may still attempt suicide).

An accumulation of Acute Risk factors can quickly elevate overall risk.

Acute Risk factors can quickly overwhelm Protective Factors.

Inmate-patients with two or more documented serious suicide attempts should always be considered at higher
risk than those with no history or only one attempt.

The Treatment Plan should logically follow from the evaluation (reduction of acute risk, enhancement of
protective factors).

Consider adding recommendations for short- and medium-term treatment.

The clinician completing the evaluation must sign the form and print name iegibly.

Indicate the date farm is completed.

Stamp with addressograph, or print inmate name, CDC number, and date of birth.

Treatment Planning

General Issues

Plans should be based on data collected and the risk fevel.
Plans should be collaborations between inmate-patients and clinicians.
Plans should reflect a problem-solving approach.

Specific Issues

Use the inmate-patient’s language in constructing a plan with them.

Discuss with the inmate when the plan will be used (e.g., ask: How will you know when to use the plan? What
will be happening? What do you experience when you start to have suicidal thoughts?”)

What strategies can the inmate-patient use to reduce or eliminate the suicidal thoughts?

What environmental changes (if any) could be considered?

What clinica! interventions (e.g., increased frequency of contact; group participation; psychiatric consult; etc.)
should be considered?

Is it possible to increase social or family support?

If in Administrative Segregation, what interventions could decrease isolation and distress?

What collaborative efforts with custody could decrease distress and suicidal thinking?

include short and medium-term interventions.
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EXHIBIT 5
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AGENDAS FOR SUICIDE PREVENTION VIDEOCONFERENCE

Date Topics
“lt

_January-07 _|No videoconference
- Current statistics

- MHCB and OHU waitlist status and reporting
February-O7 | - Medication management and monitoring

- Ad Seg intake ceil survey

- Program training DVD

- Current statistics

- Recent suicide review CAP items
- Wasco State Prison presentation
- Case presentation: ASU status

March-07

- Current statistics

- Case presentation: How to detect, evaluate, and treat inmates at high
Aprit-07 risk for suicide who are not in MHSDS?

- Update on suicide assessment training for clinicians

- No-suicide contracts

- Current statistics
May-07 - Update on suicide assessment training for clinicians
- Case presentation: Grave disability in correctional seitings

- Current statistics
- Details of suicide risk assessment training for clinicians
- Clarification of suicide precaution staggered 15-minute checks

June-07 - Appropriate level of suicide observation for high risk inmate-patients
- Off-hours face-to-face suicide evaluations
- Case presentation: impulsive, malingering, antisocial

July-07 No videoconference - 7 hour Suicide Risk Assessment Training for

Clinicians (videotaped and provided live Statewide)

August-07__|No videoconference

- Current statistics

- Suicide watch and precaution welfare issues

- Suicide Risk Assessment training update

- ASU Pre-Piacement Screening Training update
- Availability of Case Consultation

- Case Presentation

September-07

- Current statistics

- Suicide Risk Assessment training update
October-07 | - Mental Health Program Website

- Taping of Inmates in MHCB

- Clarification of Suicide Precaution Checks

- Current statistics

- Suicide Risk Assessment Training

November-07 | - Efforts to Reduce Environmental Suicide Hazards in CDCR
- Documentation Habits

- Case Report and Discussion

December-07 |No Videoconference
PAIS)
- Current statistics
- Review of 2007 suicide statistics
January-08 | - Inmate profile (transfer) process
- Referral of Level IV |/Ps to ASH
- Case discussion: "Connecting the Dots..."

- Current statistics

- Inmate profile process

February-08 | - Referrals to ASH Intermediate care

- Legible handwriting

- Clinical discussion: Countertransference and boundary issues

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AGENDAS FOR SUICIDE PREVENTION VIDEOCONFERENCE
Date Topics

- Current statistics
- Inmate profile template

~ Web resources for suicide prevention
March-08 - Formula issues

- AdSeg EOP treatment

- Treatment success

- Clinical discussion:_ Transfer anxiety
~ Current statistics

- Inmate profile process

April-08 - Intermediate care at Atascadero
- Keyhea orders and OHU's

- Clinical discussion: Inmates who are fearful, anxious oF paranoid
- Current statistics

- Inmate profile process

- POC/DAI computer link

May-08 - Clinician satisfaction survey

- Intermediate care at Atascadero

- Clinical discussion: Short term planning for elevated suicide risk in
level IV inmate

- Current statistics

- Inmate profile process

- POC/DAI computer link

June-08 - Clinician satisfaction survey

- Intermediate care at Atascadero .

- Clinical discussion: Short term planning for elevated suicide risk in ©
level IV inmate

- Current statistics

- DECs computer system

_ ASU intake cell construction

- More success stories wanted

- Videoconference DVD viewing

- Clinical discussion: Post-trauma counseling

- Current statistics

- Videoconference contact info

- Priority for MHCB admissions

- Suicide watch nursing forms

- Obtaining past MH records

- Clinical discussion: Palliative care and end-of-life issues

~ End-of-life and palliative care discussion

- Current statistics

- Documentation guidelines

- Justification for Med changes

- Current statistics

- Coordination of care with outside agencies

- Parolee access to DMH care

- Suicide prevention posters

- Current statistics

- Access to DMH care

November-08 | - Five day F/U's

- Suicide Risk Assessment: How often?

- Clinical discussion: Rare disorders

- Current statistics

- Access to DMH care

- 2009 Program Guide

- Clinical discussion: Substance abuse and suicide

July-08

August-08

September-08

October-08

December-08

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AGENDAS FOR SUICIDE PREVENTION VIDEOCONFERENCE

Date Topics

- Suicide education posters
- Five-day follow-ups: 12/31 Memorandum

January-09 | - 2009 Program Guide distribution and training
- Warning signs vs. risk factors
- Clinical discussion; Substance use and suicide

- 2008 Final statistics

- 2009 Program Guide distribution and training
- Warning signs vs. risk factors

- Clinical discussion

February-09

- Current statistics

- 2009 Program Guide: Distribution and training

- Suicide articles on CD

March-09 - Reminder re. no-suicide contracts

- Long-term monitoring for I/P's with Hx of ICF

- Inmate profile survey results and implications

- Clinical discussion: Warning signs vs. risk factors

~ Current statistics

- Where do policies come from?

- 2009 Program Guide training

- Counting suicide attempts

- Clinical discussion: Warning signs vs. risk factors

April-09

- POG database link training

- Current statistics

- 2009 Program Guide training
May-09 - Urgent response calls from HQ

- MHTS.net on the Web

- Valdivia update

- Rationale from D/C from MHSDS

- POC database link

- Mental Health Program relacation

- Current statistics

- Program Guide training follow-up

- Valdivia update

- Five day F/U: Custody wellness checks
- Readability of records

- Clinical discussion: D/C from MHSDS

June-09

- Current statistics

- Mental Health Program relocation

- Valdivia update

- Presentation: Suicide in CDCR 1998 to 2008

July-09

- Current statistics

- Presentation: Reducing overulilization of MHOHU/CTC beds
August-09

September-09 |No Videoconference

- Current statistics

- Justification of suicide risk and safety plan

- SPR FIT Coordinators’ teleconference

- Vitek Hearing documents needed

October-09 | - Valdivia update

- Informed consent (or not)

- Clinical discussion: Violence and the risk of suicide (redux)

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EXHIBIT 6
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AGENDAS FOR SUICIDE PREVENTION VIDEOCONFERENCE

Date Topics

- Current statistics
- Justification of suicide risk and safety plan
- SPR FIT Coordinators’ teleconference

November-09 | - Vitek Hearing documents needed

- Valdivia update

- Informed consent (or not)

- Clinical discussion: Violence and the risk of suicide (redux)

- Current statistics

- SPR FIT Coordinators’ Webinar

- Statewide access to suicide articles
December-09 | - Suicide Risk Assessment training note

- MHCB Discharge and 5-day F/U contact

- Temp housing fog training

- Revised Suicide Risk Assessment Form 7447

January-10 {No Videoconference

- Final (but preliminary) 2009 Statistics

- 2009 Statistics to-date

- SPR FIT Coordinators’ Webinar

- Access to Suicide Article Database

- Revised SRA Form 7447

- Clinical discussion: Violence and suicide risk - Redux, Redux

February-10

March-10 No Videoconference

- 2010 Statistics-to-date
- Introduction to the SRA Form 7447
Part 1: Background Info
Risk/Protective factors
Risk/Lethality questions
Nurse Checkbox

April-10

- 2010 Statistics-to-date
- Introduction to the SRA Form 7447
Part 1: Background Info
Risk/Proteclive factors
Risk/Lethality questions
Nurse Checkbox

May-10

- 2010 Statistics-to-date

- Introduction to the SRA Form 7447
June-10 Part 2: Additional Information
Risk level and justification
Treatment/safety plan

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Suicide Review Process

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Event Time Line Actual Follow Up
Due Date Completed

Date of Death 1 calendar day

Assignment of

reviewer 2 calendar days

Contact institution
arrange set up

2 calendar days

Travel/review

7 calendar days

Report submission

30 calendar

days
Initial edit 35 calendar
& QIP days
development
Schedule for SCR | 35 calendar
days
Disseminate via 35 calendar
email the report to | days
all involved
SCR 45 calendar
days
Signatures:
Directors/DCHCS | 55 days
and DAI
Submitted to
Institutions 60 days
QIPS implemented w/in 60 days of
receipt of
report
QIP proof of wiin 90 days of
completion report receipt of
received report

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